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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                           CASE NO. 1:18-cv-22922-MOORE/SIMONTON


  GERALDINE BUENAVENTURA,
  as personal representative of the
  estate of BEN BUENAVENTURA,

         Plaintiff,

  v.

  NCL (BAHAMAS) LTD.,
  D-I DAVIT INTERNATIONAL, INC.,
  HATECKE SERVICE USA, LLC., and
  D-I DAVIT INTERNATIONAL-HISCHE
  GMBH,

         Defendants.
                                          /

                           NOTICE OF FILING PROPOSED SUMMONS

         Plaintiff, Geraldine Buenaventura, as personal representative of the estate of Ben

  Buenaventura, notices the filing of the Proposed Summons, with Respect to the Defendant, D-I

  Davit International-Hische GMBH. Plaintiff respectfully requests said Summons be issued by the

  Clerk of the Court.



                                                  Respectfully submitted,

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           L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
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                                                     By: /s/ Carol L. Finklehoffe
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 14, 2020, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to electronically receive Notices of Electronic Filing.

                                                     By: /s/ Carol L. Finklehoffe
                                                         CAROL L. FINKLEOFFE

                                         SERVICE LIST
                             Buenaventura v. NCL (Bahamas) Ltd. et. al.
                                   case no.: 18-cv-22922-KMM

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           L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
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